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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


 IN RE NATIONAL PRESCRIPTION                         MDL 2804

 OPIATE LITIGATION                                   Case No. 17-md-2804

 This document relates to:                           Hon. Dan Aaron Polster

 Track One Cases



                         REPLY IN SUPPORT OF MOTION FOR
                  ENTRY OF ORDER ESTABLISHING COMMON BENEFIT

                                         INTRODUCTION

        Plaintiffs, through the undersigned Court-appointed Plaintiffs’ Co-Lead Counsel and

Plaintiffs’ Liaison Counsel, and on behalf of the Plaintiffs’ Executive Committee, respectfully submit

this Reply in Support of Motion for Entry of an Order Establishing Common Benefit Fund, in the

exercise of the Court’s case management authority as Transferee Court in these multidistrict

proceedings, and pursuant to its earlier Case Management Order No. 5 (“CMO No. 5”), to provide

for the reimbursement and compensation of expenses and work incurred and performed for the

common benefit of plaintiffs in the proceedings, as more fully described in the accompanying

(Revised) (Proposed) Corrected Order Establishing Common Benefit Fund (“Revised Order”).

        The accompanying Revised Order addresses the responses and objections made by various

Attorneys General, Defendants, and Plaintiffs, and clarifies the common benefit provisions requested

in several key respects. First, the Revised Order makes clear that the common benefit assessment it

provides does not apply to the Attorneys General, nor does it constitute an attempted exercise of the

Court’s jurisdiction over them. It is not intended to, and does not, alter earlier Orders and agreements




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that provided the Attorneys General with access to ARCOS data and analyses and other MDL work

product.1

             Second, the Revised Order does not impose any obligations on Defendants different from

those imposed by “hold back” orders in other MDLs, including by this Court in the Gadolinium MDL,

and it provides a procedure for determination of an appropriate assessment in scenarios involving

settlements unique to the Opioids litigation, such as those involving products in addition to monetary

payments.

             Third, the Revised Order is not intended to, and does not add any obligation to or change

anything in the Court’s earlier series of Negotiation Class Opinion and Orders (including the

provisions for costs and fee funds, or Rule 23(h) application), nor does it change the provisions of

any potential Negotiation Class settlement, or the rights of class members.2 Those remain unchanged,

as     set     forth   in   the   Negotiation     Class       Orders   and   the   information   posted   at

https://www.opioidsnegotiationclass.info.

             Fourth, the Revised Order recognizes the jurisdiction of the bankruptcy courts to make

common benefit awards from the assets of the estates of bankrupt Opioid defendants.

             Finally, the Revised Order does not interfere with the opportunity or ability of the parties to

structure or reach global or comprehensive settlements of any sort, including settlements which

propose a different negotiated and agreed structure for the payment of fees and costs. It thus does

not seek to alter or interfere with any such discussions currently underway.

             The establishment of a common benefit fund, 2+ years into this most complex and challenging

of MDLs, is the farthest thing from what one submission wrongly dubs a “grab” by a “handful of




1
    See, e.g., Doc. #444 and Doc. #1856.
2
    Doc. #2590, # 2591, and #2713.



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lawyers.”3 Many scores of attorneys from the PEC firms and others have served diligently, without

compensation or reimbursement, for over two years to advance this litigation, paying nearly $100

million to date (including payment of $70 million in assessments by the PEC) to fund the common

benefit work; expending over 1.2 million hours of their time, taking 550 depositions; serving 330 third

party subpoenas; developing scores of experts; briefing and prevailing on multiple motions to dismiss

and motions for summary judgment; preparing for multiple bellwether trials; and analyzing over 162

million pages of documents, as well as obtaining, analyzing, and making available the crucial ARCOS

data, under the aegis of this Court. The only “grab” is that of a few plaintiffs’ lawyers who oppose

assessment in hopes of a free ride. But, as courts have long acknowledged, equity, public policy, and

the very ability of the federal courts to function in MDL litigation under 28 U.S.C. § 1407, requires

those who share the benefits to contribute to the costs. The effective case management of MDLs

depend on common benefit efforts. As the federal courts have recognized for over 40 years, MDLs

require both the front-end, non-contingent investment of time and money by those charged with

leadership (which here has been invested faithfully for over two years) and the back-end, contingent

compensation of these efforts through a common benefit fund if and when cases are won or settled.

In re Air Crash Disaster at Florida Everglades, 549 F.2d 1006, 1012-1019 (5th Cir. 1977).

         Moreover, the lawyers and municipal governments who have led this litigation have worked

creatively, urgently, and assiduously to maximize and speed recovery to help address the

unprecedented public health crisis that continues to take the lives of far too many residents of all of

our communities, which will bear the costs of this crisis for decades to come. They have developed

new structures for settlement that aim to address the complex nature of this litigation, successfully

litigated cases against more than twenty highly resourced defendants through dispositive motions,




3
    Doc. #3186.


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sought and obtained the disclosure of evidence that has informed public understanding of the causes,

nature, and extent of this crisis, and worked with parties inside and outside of the MDL to fashion

solutions, to attain an efficient and just resolution of all of these cases.

                1.       The Common Benefit Order Does Not Obligate the Attorneys General
                         to Pay Assessments on their Claims.

        The Revised Order reaffirms the ability of the Attorneys General, under earlier orders and

agreements, to access and utilize ARCOS data and other MDL work product without becoming

subject to assessment. Nothing in the Revised Order changes this status quo. See Revised Order, p.2.4

        The Revised Order does not purport to exercise jurisdiction over Attorneys General or their

States’ claims. It does properly apply to all the cases and claims asserted by the plaintiffs in these

MDL proceedings. The MDL Court has subject matter jurisdiction over these parties, cases, and

claims, and it is true that some proposed settlement structures under discussion with Attorneys

General and the PEC would generate payments in consideration for the release or dismissal of these

MDL-asserted claims. But nothing in the Revised Order seeks to apply common benefit assessments

to Attorney General settlements, nor precludes any parties, including Defendants and Attorneys

General, from reaching agreements that provide for different fees and costs structures. To the extent

these structures impact the MDL plaintiffs’ claims, the Revised Order, ¶ 4, nonetheless provides

flexibility for this Court to consider and approve them, instead of the default 7% assessment.




4
  As the Revised Order makes clear: “These are some examples of common benefit efforts that have
inured to the benefit of all plaintiffs and promoted the purposes of the MDL. However, nothing in
this Order changes the provisions of this Court’s earlier Orders, and the Sharing Agreements filed in
this Court, that provided access to Attorneys General of MDL documents and work product,
including ARCOS data, without subjecting them to a common benefit assessment as a result. See,
e.g., Doc. #444 ¶¶ 33(i); 34(j), Doc. #1856. These remain in effect. Nor is this Order an attempted
exercise of jurisdiction over the Attorneys General. See, e.g., Doc. #111, and Doc. #232.”


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                2.      The Court May Properly Require Defendants to Hold Back the
                        Common Benefit Assessment.

        Defendants complain that the withholding provisions constitute an improper burden upon

them, but such withholding or “hold back” provisions (which were approved by this Court in the

Gadolinium MDL) are routine and have been adapted by many MDL courts as the most efficient and

effective way to enforce assessments. See, e.g., In re Avandia Mktg., Sales Practices & Prod. Liab. Litig.,

617 F. App’x 136, 140 (3d Cir. 2015) (affirming order of District court establishing common benefit

fund requiring defendant to hold back 7% assessment).

        In In re Cook Med., Inc., Pelvic Repair Sys. Prod. Liab. Litig., 365 F. Supp. 3d 685, 694 (S.D. W.

Va. 2019), appeal dismissed sub nom. In re Ethicon, Inc., No. 19-1224, 2019 WL 4120999 (4th Cir. June 14,

2019), the court entered an “Agreed Order Establishing ... [a] Fund to Compensate and Reimburse

Attorneys for Services Performed and Expenses Incurred for MDL Administration and Common

Benefit” (“Agreed Order”). The Agreed Order was entered in all seven MDLs. There, the court

ordered MDL defendants to withhold a 5% assessment on plaintiff recoveries and directed defendants

to pay the hold back assessments ‘directly into the ... MDL Fund as a credit against the Settlement of

Judgment.’”.

        In another example, In re Bard IVC Filters, No. 2-15-MD-02641, ECF No. 372 (D. Ariz. Dec.

18, 2015), “For cases subject to an assessment, Defendants are directed to withhold an assessment

from any and all amounts paid to plaintiffs and their counsel and to pay the assessment directly into

the Funds as a credit against the settlement or judgment.”. In this Court’s assessment Order in In re

Gadolinium Based Contrast Agents Prod. Liab. Litig., No. 08-GD-50000, 2009 WL 10703918, at *3 (N.D.

Ohio Feb. 20, 2009), the court provided, “For cases subject to an assessment, defendants are directed

to withhold an assessment from any and all amounts paid to plaintiffs and their counsel and to pay

the assessment directly into the Funds as a credit against the settlement or judgment.”.




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        As Judge Fallon observed in Turner v. Murphy Oil USA, Inc., 422 F. Supp. 2d 676, 680, 684

(E.D. La. 2006), “it has been a common practice in the federal courts to impose set-asides in the early

stages of complex litigation in order to preserve common-benefit funds for later

distribution….Defendant is directed to withhold this set-aside from amounts paid to plaintiffs and

their counsel, and to pay the set-aside directly into the fund as a credit against the settlement or

judgment.” See also In re Diet Drugs (Phentermine/Fenfluramine/Dexfenfluramine) Prod. Liab. Litig., MDL

No. 1203, 1999 WL 124414, at *2 (E.D. Pa. Feb. 10, 1999) (“Before making any claim payment to a

plaintiff whose action has been subject to coordinated pretrial proceedings in MDL 1203, defendants

shall deduct from such payments an amount equal to nine percent (9%) of the aggregate of the amount

being paid and any amounts to be paid to the plaintiff in the future; and shall pay such sum as

hereinafter provided for deposit into the MDL 1203 Fee and Cost Account.”)5

                3.      The Presence of Objections is Not Unusual and Does Not Preclude
                        Establishment of a Common Benefit Fund.

        It is not unusual for either defendants or individual plaintiffs (or more likely, their lawyers), to

object to the amount or existence of a common benefit assessment. Indeed, the failure to avoid

assessment would be the exception to the rule. Nonetheless, MDL courts have entered these orders

in the exercise of their case management authority and equity jurisdiction to ensure costs are spread

ratably among beneficiaries, and that there is someone to do the necessary common benefit work.6




5
  Defendants also worry that they could be required to pay an additional 7% over and above what
has already been paid to Plaintiffs, as in the claims settled in the Case Track One cases. The Revised
Order is not intended to operate in this way – it also imposes an obligation on MDL plaintiffs, and
these bellwether plaintiffs have held back funds in anticipation of a common benefit order. See
Revised Order, ¶ 3.c.
6
  As Everglades long ago affirmed, the “vindication” of the “larger interests” in the effective use of
court and litigant resources, and the public interest in case litigation efficiency that the MDL statute
promotes, “commands affirmative intervention by the court and the assignment of additional
responsibilities to some attorneys, inuring to the benefit of other attorneys.” 549 F.2d at 1019.


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        Examples of courts establishing or affirming common benefit funds over defendants’ and/or

plaintiffs’ oppositions are legion. See, e.g., Bard, No. 2-15-MD-02641, ECF No. 372 (ordering common

benefit assessment of 8% over defendants’ objection); In re Vioxx Prod. Liab. Litig., 760 F. Supp. 2d

640, 649, 661-662 (E.D. La. 2010) (noting benefit of briefing of numerous objections to the PLC’s

initial common benefit award request and awarding 6.5% common benefit fee award); In re Zyprexa

Prod. Liab. Litig., 467 F. Supp. 2d 256, 265-269 (E.D.N.Y. 2006) (granting establishment of common

benefit fund over objections); Turner, 422 F. Supp. 2d at 683 (ordering total assessment of 12% over

objections); In re Sulzer Hip Prosthesis & Knee Prosthesis Liab. Litig., 268 F. Supp. 2d 907, 930-35 (N.D.

Ohio 2003) (considering objections and awarding common benefit assessment of 4.8%); In re

Orthopedic Bone Screw Prod. Liab. Litig., No. MDL 1014, 1996 WL 900349, at *4 (E.D. Pa. June 17, 1996)

(ordering total common benefit assessment of 17% over defendants’ objection); In re MGM Grand

Hotel Fire Litig., 660 F. Supp. 522, 529 (D. Nev. 1987) (increasing common benefit fund fee to 7%

from 5% over objections).

                4.       This Court Has Jurisdiction Over the ARCOS Data and MDL Work
                         Product and May Assess Private Plaintiffs Who Utilize It.

        Common benefit opponents make much of the Showa Denko and Genetically Modified Rice

decisions to oppose assessment of state court litigants.7 But there is a fundamental difference between

those cases and MDL No. 2804.

        Here, the court has ongoing jurisdiction over the ARCOS data, and is actively supervising and

protecting its use. This data is key evidence in all cases, both within and outside the MDL.

Participation agreements govern use – and provide for assent to common benefit assessments – by

the private plaintiffs using this work product with permission. The same is true of other MDL work

product, including the substantial body of documents and depositions that have been made available


7
 In re Showa Denko K.K. L-Tryptophan Prod. Liab. Litig.-II, 953 F.2d 162 (4th Cir. 1992); In re Genetically
Modified Rice Litig., 764 F.3d 864 (8th Cir. 2014).


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to litigants that constitute or inform their discovery and proof. But an assessment obligation may and

should also follow this federally-supervised res to all private plaintiffs who use and benefit from it,

with or without permission. This is the essential principle of Trustees v. Greenough, 105 U.S. 527(1881),

Sprague v. Ticonic Nat’l Bank, 307 U.S. 161 (1939), and other cases involving a res before the court.

Translated to modern times, the vast body of documentary (and now electronically stored) evidence

amassed and analyzed by common benefit counsel and under the jurisdiction and protection of the

MDL Court, constitutes the functional – and literal – equivalent of a res for purposes of regulating

access, use, and compensation.

        In the Deepwater Horizon Litigation, Judge Barbier expressly applied the assessment to MDL

discovery beneficiaries: “Specifically, this hold back requirement applies to all actions filed in or

removed to federal court that have been or become a part of the MDL, whether or not a motion to

remand has been filed, and to state court plaintiffs represented by counsel who have participated

in or had access to the discovery conducted in this MDL. Exempt from the current hold back

requirement are settlements or other payments by the Gulf Coast Claims Facility, another claims

processor, or any Defendants to claimants who have never had, do not currently have, nor hereinafter

have, actions or claims-in-limitation pending in the MDL. Also exempt from this hold back

requirement are state court counsel who have or had no cases in this MDL and who have

never had access to any of the discovery undertaken in the MDL. In re Oil Spill by the Oil Rig

“Deepwater Horizon” in the Gulf of Mexico, on Apr. 20, 2010, MDL No. 2179, 2012 WL 161194, at *2

(E.D. La. Jan. 18, 2012) (emphasis supplied).

        In an earlier opinion, the Deepwater Horizon court considered whether it had subject matter

jurisdiction to order the hold back in (1) cases that were filed in state court, removed to the MDL (or

removed to another federal court, then transferred to the MDL) and have pending motions to remand,

and (2) cases filed in state courts that were not removed. In re Oil Spill by the Oil Rig “Deepwater Horizon”



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in the Gulf of Mexico, on Apr. 20, 2010, MDL No. 2179, 2011 WL 6817982, at *3 (E.D. La. Dec. 28,

2011), amended by 2012 WL 37373 (E.D. La. Jan. 4, 2012), and amended and superseded on reconsideration by,

2012 WL 161194 (E.D. La. Jan. 18, 2012)

        As to the first category of cases, the court said it agreed with the concurring opinion in In re

Zyprexa Prod. Liab. Litig., 594 F.3d 113 (2d Cir. 2010) and decided that the hold back would apply to

cases with pending motions to remand. Deepwater Horizon, 2011 WL 6817982, at *3-4. Then, for the

second category of cases – the non-removed state court cases – the Deepwater court considered

Genetically Modified Rice and Showa Denko but decided to go the way of the more analogous decision in

the Latex Gloves MDL, in which the district court required an attorney who had cases before both

federal and state courts to pay the assessment in order to gain discovery materials held in a depository.

In re Latex Gloves Prod. Liab. Litig., MDL No. 1148, 2003 U.S. Dist. LEXIS 18118 (E.D. Pa. Sep. 5,

2003) (“Like movant, most plaintiffs' counsel represent state court as well as federal court plaintiffs.

Permitting them to use discovery information in their state cases without charge would produce an

anomalous and undesirable predicament.”).

        Judge Barbier also cited In re Fosamax Prods. Liab. Litig., No. 1:06-md-1786 (S.D.N.Y. Apr. 28,

2011), ECF No. 1012, which ordered “any plaintiff's counsel with cases not in the MDL who utilizes

any aspect of the MDL common benefit work product, or who participates in a PSC-coordinated

resolution, and who has not signed an Assessment Option agreement, shall be subject to [a 9% hold-

back assessment].” It also considered and concurred with the guidance of the Federal Judicial Center’s

Pocket Guide8, which states that “fees may not be imposed by a transferee judge on attorneys with

no cases in the MDL and who do not use federal discovery material.” Deepwater Horizon, 2011

WL 6817982, at *5-6 (emphases supplied).



8
 Coordinating Multidistrict Litigation: A Pocket Guide for Judges (Federal Judicial Center 2013), p.7
“Managing Attorney Disputes.”


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               5.      This Court Has Managerial Power and Equity Jurisdiction Over
                       Private Litigants Who Benefit From Common Benefit Activity.

        No one prefers a tax or reduction of any kind on “his” recovery or fees. But everyone needs

and expects access to essential services. The federal courts have long recognized that in MDLs, the

compensation of court-designated counsel, such as Lead Counsel and Committees, are essential to the

ability of MDLs to function effectively. Manual for Complex Litigation, Fourth (Federal Judicial Center

2004), §§ 10.22-10.225; 14.215.

        The history, rationales for, and necessity of common benefit assessments are thoroughly

explored in the seminal decision in Everglades On December 29, 1972, 549 F.2d 1006, on appeal from an

8% common benefit assessment by the transferee court in MDL No. 139.

        As the Fifth Circuit noted:

               First, if lead counsel are to be an effective tool the court must have
               means at its disposal to order appropriate compensation for them. The
               court’s power is illusory if it is dependent upon lead counsel’s
               performing the duties desired of them for no additional compensation.

Id. at 1016.

               The argument that lead counsel are paid twice for the same work
               overlooks what the district court did not overlook−the broader
               responsibilities that lead counsel bear and the larger interests that they
               serve. Because of the nature of the case that will trigger appointment,
               lead counsel’s services are in part for all parties with like interests and
               their lawyers. To a degree, lead attorneys become officers of the court.
               By making manageable litigation that otherwise would run out of
               control they serve interests of the court, the litigants, the other counsel,
               and the bar, and of the public at large, who are entitled to their chance
               at access to unimpacted courts.

Id. at 1017.

               The power of the court to order compensation, and payment of it in
               the manner directed in this case, is reinforced by the body of law
               concerning the inherent equitable power of a trial court to allow
               counsel fees and litigation expenses out of the proceeds of a fund that
               has been created, increased or protected by successful litigation. This
               expanding jurisprudence has moved beyond the literal limits of its
               original bounds.



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Id. (citing, inter alia, Greenough, 105 U.S. 527; Sprague, 307 U.S. 161).

        The Everglades decision quotes Justice Frankfurter’s decision in Sprague regarding the breadth

of the district court’s equitable powers as follows:

                 Plainly the foundation for the historic practice of granting
                 reimbursement for the costs of litigation other than the conventional
                 taxable costs is part of the original authority of the chancellor to do
                 equity in a particular situation. Whether one professes to sue
                 representatively or formally makes a fund available for others may, of
                 course, be a relevant circumstance in making the fund liable for his
                 costs in producing it. But when such a fund is for all practical purposes
                 created for the benefit of others, the formalities of the litigation−the
                 absence of an avowed class suit or the creation of a fund, as it were,
                 through a decree−hardly touch the power of equity in doing justice as
                 between a party and the beneficiaries of his litigation.

307 U.S. at 166-67, as quoted in Everglades, 549 F.2d at 1018.

                 6.      The Approval and Timing of the Assessment is
                         Fully Appropriate Given the Progress of MDL No. 2804

        Is the 7% assessment too much, or too little? Is it requested too early, or too late, in the

proceedings? Common benefit assessments are the quintessential “Goldilocks” scenario: no one

thinks they are just right.

        Many courts – and the Manual for Complex Litigation – recommend that assessments be

determined “early in the litigation”, despite objectors’ argument that assessment in MDL No. 2804 is

too soon. Manual for Complex Litigation, Fourth (Federal Judicial Center 2004), §§ 10.22; 14.215. As

the Manual states:

                 Early in the litigation, the court should define designated counsel’s
                 functions, determine the method of compensation, specify the records
                 to be kept, and establish the arrangements for their compensation,
                 including setting up a fund to which designated parties should
                 contribute in specified proportions. 9


9
 See also In re Worldcom, Inc. Sec. Litig., No. 02 Civ. 3288 (DLC), 2004 WL 2549682, at *4, 5 (S.D.N.Y.
Nov. 10, 2004) (“It is important to establish a set-aside fund immediately. Without the entry of a
set-aside order in advance of [i]ndividual [a]ction settlements or judgments, [i]ndividual [a]ctions



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       Here, this Court early on established the functions of designated and common benefit counsel,

including the time and cost-reporting protocols the Manual recommends, in CMO No. 5. Counsel

have followed these protocols, and, more importantly, done the work: over two years of time and

costs have been incurred, in a heavily demanding and intensively prosecuted case. A major settlement

of initial bellwether claims has occurred. Preparations for additional bellwether trials are underway,

and additional trial dates have been set. MDL No. 2804 is at the remand and multiple bellwether trial

stage. The entry of an assessment order is demonstrably timely.

       Is the assessment too much? Other courts have approved and offered more; some others

have approved a bit less. The Federal Judicial Center’s multidistrict Pocket Guide states that common

benefit assessments are “typically, though not always, 4% to 8%” and the Revised Order lists a number

of recent and current common benefit assessments at the top of this range – and higher. The

requested 7% assessment is mainstream; the demands of this MDL are anything but. This case has a

track record of gargantuan and necessary expenditures of both time and money (approximately $100

million in front-end cost assessments paid by the PEC alone, and over 1.2 million hours of common

benefit labor to date) and this Court has had myriad occasions to observe both the quality and quantity

of effort by the common benefit lawyers. This Court is well able to exercise its discretion to fix an

appropriate percentage, and to do so now.

               7.      The Proposed Order Does Not Impair or Interfere
                       With Settlement Efforts

       The Revised Order does not impede or interfere with any settlement efforts. Instead, it

provides flexibility, recognizing that various parties are pursuing or may pursue different or evolving



could be dismissed after settlement or a judgment, requiring [lead counsel] to pursue separate
compensation claims in any number of jurisdictions around the country….Before making any Claim
Payment, each paying defendant shall deduct the Escrow Amount and pay the Escrow Amount to
the Clerk of Court for deposit to the CRIS Escrow Account.”). See Turner, 422 F. Supp. 2d, at 680,
endorsing “set-asides in the early stages of complex litigation.”


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settlement structures, which may call for the release of MDL actions or claims, in combination with

actions or claims outside the MDL court’s jurisdiction. The following provisions recognize this

complexity and enable the Court to consider and determine common benefit assessments and awards

to the extent they include the subject matter of this MDL:

           4. Further Proceedings and Continuing Jurisdiction

               a. This Order is without prejudice to such other assessments of or
                  awards of fees and costs as may be ordered by this Court under
                  Rule 23(h), the common benefit doctrine, a Court-approved
                  agreement among the parties to any global or comprehensive
                  settlement with any defendant, or that may be provided by contract
                  between attorneys and clients. The intent of this Order is to
                  establish, secure, and supervise a fund to promote the purposes
                  and policies of the common benefit doctrine and provide a source
                  for equitable payment of services rendered and costs incurred for
                  the benefit of Opioids plaintiffs.

               b. Nothing in this Order precludes the parties from negotiating,
                  agreeing on, and proposing a different fee structure in a global
                  settlement of claims against any defendant that provides a different
                  fund or mechanism for fairly compensating common benefit work
                  and costs.

               c. Common benefit fees and costs requested or agree to be paid from
                  assets in any bankruptcy proceeding would be approved and
                  awarded as determined by the bankruptcy court in the exercise of
                  its jurisdiction.

               d. If a settlement includes funding for abatement that is shared
                  among parties, including state Attorneys General, not subject to
                  this Order, the parties participating in directing the fund shall agree
                  on a method for determining what part of that fund will be subject
                  to common benefit fees and costs. To the extent that no
                  agreement can be reached, this Court will determine a fair
                  assessment subject to this Order, pursuant to notice and an
                  opportunity for the parties to be heard.

               e. If all parties to a future settlement agree that exceptional
                  circumstances warrant a departure from the hold back obligations,
                  or other provisions of this Order, they shall submit affidavits
                  thereon and request appropriate relief from this Court.




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                                            CONCLUSION

        The Revised Order recognizes the developing, specific, and exceptional circumstances of this

litigation, providing flexibility for the Court and the parties to develop particular settlement structures

in a manner that preserves the fundamental and necessary functions of common benefit assessments,

while enabling them to be tailored to each settlement. See Revised Order, ¶ 4. Meanwhile, the Revised

Order provides a predictable and enforceable system for withholding assessments in routine

circumstances, such as individual plaintiffs’ settlements. It recognizes ongoing developments, such as

bankruptcy filings by Defendants, by deferring to the bankruptcy courts for fees and costs

determinations in those cases. And it honors previous orders and agreements as to the Attorney

Generals. Plaintiffs respectfully urge its entry by the Court.


Dated: March 6, 2020                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 6 2020, I electronically filed the foregoing with the Clerk of
Court by using the CM/ECF system. Copies will be served upon counsel of record by, and may be
obtained through, the Court CM/ECF system.



                                               /s/Peter H. Weinberger
                                               Peter H. Weinberger




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